Case 1:22-cv-03650-CBA-JRC Document 22 Filed 06/27/23 Page 1 of 2 PageID #: 101




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ___________________________________________
 ANASTASIA IVANOVA,

                Plaintiff,
 v.
                                                       CASE NO.: 1:22-cv-03650-CBA-JRC
 ADVANCED REHABILITATION, P.C.,
 NATHAN MANAGEMENT CORP.,
 EUGENE SELDIN and JULIA SAPOFF,

             Defendants.
 ___________________________________________


                               STIPULATION FOR DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff Anastasia

 Ivanova (“Plaintiff”) and Defendants, Advanced Rehabilitation, P.C., Nathan Management Corp.,

 Eugene Seldin, and Julia Sapoff, (“Defendants”), by and through their undersigned counsel, that

 pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff’s claims in the

 above -captioned action shall be dismissed in their entirety with prejudice and without costs.

       Dated this 27th day of June 2023.


 /s/David Harrison, Esq.                                     /s/ Ian E. Smith
 David Harrison, Esq.                                        Ian E. Smith, Esq.
 dharrison@nynjemploymentlaw.com                             New York Bar No. 4027447
 Julie Salwen, Esq.
                                                             SPIRE LAW, PLLC
 jsalwen@nynjemploymentlaw.com
 110 State Highway 35, Suite 10 Red Bank                     2572 W. State Road 426, Suite2088
  New Jersey 07701                                           Oviedo, Florida 32765
 Attorneys for Plaintiff                                     ian@spirelawfirm.com
                                                             sarah@spirelawfirm.com
                                                             filings@spirelawfirm.com
                                                             Attorneys for Defendant




                                                 1
                                                                             www.spirelawfirm.com
                                                                             Employment Attorneys
Case 1:22-cv-03650-CBA-JRC Document 22 Filed 06/27/23 Page 2 of 2 PageID #: 102




                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of June, 2023, I electronically filed the foregoing with

 the Clerk of Court using the Court’s e-filing system, which will send a notice of electronic filing

 to all counsel of record.

                                                       /s/ Ian E. Smith
                                                       Attorney




                                                  2
                                                                                www.spirelawfirm.com
                                                                                Employment Attorneys
